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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                        )
                                                 )
                      Plaintiff,                 )
                                                 )
       vs.                                       )
                                                 )                  8:09-cr-198
ROBERTO GUTIERREZ CISNERO,                       )
LUIS REYES-CISNERO and                           )        ORDER CONTINUING TRIAL
JAVIER LEMUS-NAVARRO,                            )
                                                 )
                      Defendants.                )


       This matter is before the court on the motion of Luis Reyes-Cisnero to continue the trial
now set for September 15, 2009. The movant has filed an affidavit regarding speedy trial, as
required by NECrimR 12.1 and/or 12.3. For good cause shown,

       IT IS ORDERED that the defendant's motion to continue trial (Doc. 72) is granted, as
follows:

       1. The jury trial now set for September 15, 2009 is continued to October 6, 2009.

         2. In accordance with 18 U.S.C. § 3161(h)(8)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this
motion, that is, the time between September 15, 2009 and October 6, 2009, shall be deemed
excludable time in any computation of time under the requirement of the Speedy Trial Act
because counsel require additional time to adequately prepare the case, taking into
consideration due diligence of counsel and the novelty and complexity of this case. The failure
to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(8)(A) &
(B)(iv).

       DATED August 28, 2009.

                                              BY THE COURT:

                                              s/ F.A. Gossett
                                              United States Magistrate Judge
